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              EXHIBIT A
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                                                                                                                                 Exhibit 4.1

                                                                                                                    EXECUTION VERSION


                                     SENIOR PREFERRED STOCK PURCHASE AGREEMENT
         SENIOR PREFERRED STOCK PURCHASE AGREEMENT (this "Agreement") dated as of September 7, 2008, between the
  UNITED STATES DEPARTMENT OF THE TREASURY ("Purchaser") and FEDERAL NATIONAL MORTGAGE ASSOCIATION
  ("Seller"), acting through the Federal Housing Finance Agency (the "Agency") as its duly appointed conservator (the Agency in such
  capacity, "Conservator"). Reference is made to Article 1 below for the meaning of capitalized terms used herein without definition.


                                                                Background
          A. The Agency has been duly appointed as Conservator for Seller pursuant to Section 1367(a) of the Federal Housing Enterprises
  Financial Safety and Soundness Act of 1992 (as amended, the "FHE Act"). Conservator has determined that entry into this Agreement
  is (i) necessary to put Seller in a sound and solvent condition; (ii) appropriate to carry on the business of Seller and preserve and
  conserve the assets and property of Seller; and (iii) otherwise consistent with its powers, authorities and responsibilities.
          B. Purchaser is authorized to purchase obligations and other securities issued by Seller pursuant to Section 304(g) of the Federal
  National Mortgage Association Charter Act, as amended (the "Charter Act"). The Secretary of the Treasury has determined, after
  taking into consideration the matters set forth in Section 304(g)(1)(C) of the Charter Act, that the purchases contemplated herein are
  necessary to (i) provide stability to the financial markets; (ii) prevent disruptions in the availability of mortgage finance; and
  (iii) protect the taxpayer.
        THEREFORE, the parties hereto agree as follows:


                                                           Terms and Conditions

  1. DEFINITIONS
        As used in this Agreement, the following terms shall have the meanings set forth below:
  "Affiliate" means, when used with respect to a specified Person (i) any direct or indirect holder or group (as defined in Sections 13(d)
  and 14(d) of the Exchange Act) of holders of 10.0% or more of any class of capital stock of such Person and (ii) any current or former
  director or officer of such Person, or any other current or former employee of such Person that currently exercises or formerly
  exercised a material degree of Control over such Person, including without limitation each current or former Named Executive Officer
  of such Person.
  "Available Amount" means, as of any date of determination, the lesser of (a) the Deficiency Amount as of such date and (b) the
  Maximum Amount as of such date.
  "Business Day" means any day other than a Saturday, Sunday or other day on which commercial banks are authorized to close under
  United States federal law and the law of the State of New York.




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 "Capital Lease Obligations" of any Person shall mean the obligations of such Person to pay rent or other amounts under any lease of
 (or other similar arrangement conveying the right to use) real or personal property, or a combination thereof, which obligations are
 required to be classified and accounted for as capital leases on a balance sheet of such Person under GAAP and, for purposes hereof,
 the amount of such obligations at any time shall be the capitalized amount thereof at such time determined in accordance with GAAP.
 "Control" shall mean the possession, directly or indirectly, of the power to direct or cause the direction of the management or policies
 of a Person, whether through the ownership of voting securities, by contract or otherwise.
 "Deficiency Amount" means, as of any date of determination, the amount, if any, by which (a) the total liabilities of Seller exceed
 (b) the total assets of Seller (such assets excluding the Commitment and any unfunded amounts thereof), in each case as reflected on
 the balance sheet of Seller as of the applicable date set forth in this Agreement, prepared in accordance with GAAP; provided,
 however, that:
       (i) for the avoidance of doubt, in measuring the Deficiency Amount liabilities shall exclude any obligation in respect of any
       capital stock of Seller, including the Senior Preferred Stock contemplated herein;
       (ii) in the event that Seller becomes subject to receivership or other liquidation process or proceeding, "Deficiency Amount" shall
       mean, as of any date of determination, the amount, if any, by which (a) the total allowed claims against the receivership or other
       applicable estate (excluding any liabilities of or transferred to any LLRE (as defined in Section 5.4(a)) created by a receiver)
       exceed (b) the total assets of such receivership or other estate (excluding the Commitment, any unfunded amounts thereof and any
       assets of or transferred to any LLRE, but including the value of the receiver's interest in any LLRE);
       (iii) to the extent Conservator or a receiver of Seller, or any statute, rule, regulation or court of competent jurisdiction, specifies or
       determines that a liability of Seller (including without limitation a claim against Seller arising from rescission of a purchase or
       sale of a security issued by Seller (or guaranteed by Seller or with respect to which Seller is otherwise liable) or for damages
       arising from the purchase, sale or retention of such a security) shall be subordinated (other than pursuant to a contract providing
       for such subordination) to all other liabilities of Seller or shall be treated on par with any class of equity of Seller, then such
       liability shall be excluded in the calculation of Deficiency Amount; and
       (iv) the Deficiency Amount may be increased above the otherwise applicable amount by the mutual written agreement of
       Purchaser and Seller, each acting in its sole discretion.
 "Designated Representative" means Conservator or (a) if Conservator has been superseded by a receiver pursuant to Section 1367(a) of
 the FHE Act, such receiver, or (b) if Seller is not in con-

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  servatorship or receivership pursuant to Section 1367(a) of the FHE Act, Seller's chief financial officer.
 "Director" shall mean the Director of the Agency.
 "Effective Date" means the date on which this Agreement shall have been executed and delivered by both of the parties hereto.
 "Equity Interests" of any Person shall mean any and all shares, interests, rights to purchase or otherwise acquire, warrants, options,
 participations or other equivalents of or interests in (however designated) equity, ownership or profits of such Person, including any
 preferred stock, any limited or general partnership interest and any limited liability company membership interest, and any securities or
 other rights or interests convertible into or exchangeable for any of the foregoing.
 "Exchange Act" means the Securities Exchange Act of 1934, as amended, and the rules and regulations of the SEC promulgated
 thereunder.
 "GAAP" means generally accepted accounting principles in effect in the United States as set forth in the opinions and pronouncements
 of the Accounting Principles Board and the American Institute of Certified Public Accountants and statements and pronouncements of
 the Financial Accounting Standards Board from time to time.
 "Indebtedness" of any Person means, for purposes of Section 5.5 only, without duplication, (a) all obligations of such Person for money
 borrowed by such Person, (b) all obligations of such Person evidenced by bonds, debentures, notes or similar instruments, (c) all
 obligations of such Person under conditional sale or other title retention agreements relating to property or assets purchased by such
 Person, (d) all obligations of such Person issued or assumed as the deferred purchase price of property or services, other than trade
 accounts payable, (e) all Capital Lease Obligations of such Person, (f) obligations, whether contingent or liquidated, in respect of
 letters of credit (including standby and commercial), bankers' acceptances and similar instruments and (g) any obligation of such
 Person, contingent or otherwise, guaranteeing or having the economic effect of guaranteeing any Indebtedness of the types set forth in
 clauses (a) through (0 payable by another Person other than Mortgage Guarantee Obligations.
 "Liquidation End Date" means the date of completion of the liquidation of Seller's assets.
 "Maximum Amount" means, as of any date of determination, $100,000,000,000 (one hundred billion dollars), less the aggregate amount
 of funding under the Commitment prior to such date.
 "Mortgage Assets" of any Person means assets of such Person consisting of mortgages, mortgage loans, mortgage-related securities,
 participation certificates, mortgage-backed commercial paper, obligations of real estate mortgage investment conduits and similar
 assets, in each case to the extent such assets would appear on the balance sheet of such Person in accordance with GAAP as in effect as
 of the date hereof (and, for the avoidance of doubt, without giving effect to any

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  change that may be made hereafter in respect of Statement of Financial Accounting Standards No. 140 or any similar accounting
  standard).
 "Mortgage Guarantee Obligations" means guarantees, standby commitments, credit enhancements and other similar obligations of
 Seller, in each case in respect of Mortgage Assets.
 "Named Executive Officer" has the meaning given to such term in Item 402(a)(3) of Regulation S-K under the Exchange Act, as in
 effect on the date hereof.
 "Person" shall mean any individual, corporation, limited liability company, partnership, joint venture, association, joint-stock
 company, trust, estate, unincorporated organization or government or any agency or political subdivision thereof, or any other entity
 whatsoever.
 "SEC" means the Securities and Exchange Commission.
 "Senior Preferred Stock" means the Variable Liquidation Preference Senior Preferred Stock of Seller, substantially in the form of
 Exhibit A hereto.
 "Warrant" means a warrant for the purchase of common stock of Seller representing 79.9% of the common stock of Seller on a fully-
 diluted basis, substantially in the form of Exhibit B hereto.

  2. COMMITMENT
    2.1. Commitment. Purchaser hereby commits to provide to Seller, on the terms and conditions set forth herein, immediately
 available funds in an amount up to but not in excess of the Available Amount, as determined from time to time (the "Commitment");
 provided, that in no event shall the aggregate amount funded under the Commitment exceed $100,000,000,000 (one hundred billion
 dollars). The liquidation preference of the Senior Preferred Stock shall increase in connection with draws on the Commitment, as set
 forth in Section 3.3 below.
    2.2. Quarterly Draws on Commitment. Within fifteen (15) Business Days following the determination of the Deficiency Amount, if
 any, as of the end of each fiscal quarter of Seller which ends on or before the Liquidation End Date, the Designated Representative
 may, on behalf of Seller, request that Purchaser provide immediately available funds to Seller in an amount up to but not in excess of
 the Available Amount as of the end of such quarter. Any such request shall be valid only if it is in writing, is timely made, specifies the
 account of Seller to which such funds are to be transferred, and contains a certification of the Designated Representative that the
 requested amount does not exceed the Available Amount as of the end of the applicable quarter. Purchaser shall provide such funds
 within sixty (60) days of its receipt of such request or, following any determination by the Director that the Director will be mandated
 by law to appoint a receiver for Seller if such funds are not received sooner, such shorter period as may be necessary to avoid such
 mandatory appointment of a receiver if reasonably practicable taking into consideration Purchaser's access to funds.
    2.3. Accelerated Draws on Commitment. Immediately following any determination by the Director that the Director will be
 mandated by law to appoint a receiver for Seller prior to the Liquidation End Date unless Seller's capital is increased by an amount (the
 "Special Amount")

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  up to but not in excess of the then current Available Amount (computed based on a balance sheet of Seller prepared in accordance with
  GAAP that differs from the most recent balance sheet of Seller delivered in accordance with Section 5.9(a) or (b)) on a date that is
  prior to the date that funds will be available to Seller pursuant to Section 2.2, Conservator may, on behalf of Seller, request that
  Purchaser provide to Seller the Special Amount in immediately available funds. Any such request shall be valid only if it is in writing,
  is timely made, specifies the account of Seller to which such funds are to be transferred, and contains certifications of Conservator that
  (i) the requested amount does not exceed the Available Amount (including computations in reasonable detail and satisfactory to
  Purchaser of the then existing Deficiency Amount) and (ii) the requested amount is required to avoid the imminent mandatory
  appointment of a receiver for Seller. Purchaser shall provide such funds within thirty (30) days of its receipt of such request or, if
  reasonably practicable taking into consideration Purchaser's access to funds, any shorter period as may be necessary to avoid
  mandatory appointment of a receiver.
     2.4. Final Draw on Commitment. Within fifteen (15) Business Days following the determination of the Deficiency Amount, if any,
  as of the Liquidation End Date (computed based on a balance sheet of Seller as of the Liquidation End Date prepared in accordance
  with GAAP), the Designated Representative may, on behalf of Seller, request that Purchaser provide immediately available funds to
  Seller in an amount up to but not in excess of the Available Amount as of the Liquidation End Date. Any such request shall be valid
  only if it is in writing, is timely made, specifies the account of Seller to which such funds are to be transferred, and contains a
  certification of the Designated Representative that the requested amount does not exceed the Available Amount (including
  computations in reasonable detail and satisfactory to Purchaser of the Deficiency Amount as of the Liquidation End Date). Purchaser
  shall provide such funds within sixty (60) days of its receipt of such request.
      2.5. Termination of Purchaser's Obligations. Subject to earlier termination pursuant to Section 6.7, all of Purchaser's obligations
  under and in respect of the Commitment shall terminate upon the earliest of: (a) if the Liquidation End Date shall have occurred, (i) the
  payment in full of Purchaser's obligations with respect to any valid request for funds pursuant to Section 2.4 or (ii) if there is no
  Deficiency Amount on the Liquidation End Date or if no such request pursuant to Section 2.4 has been made, the close of business on
  the 15th Business Day following the determination of the Deficiency Amount, if any, as of the Liquidation End Date; (b) the payment
  in full of, defeasance of or other reasonable provision for all liabilities of Seller, whether or not contingent, including payment of any
  amounts that may become payable on, or expiry of or other provision for, all Mortgage Guarantee Obligations and provision for
  unmatured debts; and (c) the funding by Purchaser under the Commitment of an aggregate of $100,000,000,000 (one hundred billion
  dollars). For the avoidance of doubt, the Commitment shall not be terminable by Purchaser solely by reason of (i) the conservatorship,
  receivership or other insolvency proceeding of Seller or (ii) the Seller's financial condition or any adverse change in Seller's financial
  condition.

  3. PURCHASE OF SENIOR PREFERRED STOCK AND WARRANT; FEES
     3.1. Initial Commitment Fee. In consideration of the Commitment, and for no additional consideration, on the Effective Date (or as
  soon thereafter as is practicable) Seller shall sell and issue to Purchaser, and Purchaser shall purchase from Seller, (a) one million
  (1,000,000) shares of Senior Preferred Stock, with an initial liquidation preference equal to $1,000 per share

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  ($1,000,000,000 (one billion dollars) liquidation preference in the aggregate), and (b) the Warrant.
     3.2. Periodic Commitment Fee. (a) Commencing March 31, 2010, Seller shall pay to Purchaser quarterly, on the last day of March,
  June, September and December of each calendar year (each a "Periodic Fee Date"), a periodic commitment fee (the "Periodic
  Commitment Fee"). The Periodic Commitment Fee shall accrue from January 1, 2010.
       (b) The Periodic Commitment Fee is intended to fully compensate Purchaser for the support provided by the ongoing
 Commitment following December 31, 2009. The amount of the Periodic Commitment Fee shall be set not later than December 31,
 2009 with respect to the ensuing five-year period, shall be reset every five years thereafter and shall be determined with reference to
 the market value of the Commitment as then in effect. The amount of the Periodic Commitment Fee shall be mutually agreed by
 Purchaser and Seller, subject to their reasonable discretion and in consultation with the Chairman of the Federal Reserve; provided, that
 Purchaser may waive the Periodic Commitment Fee for up to one year at a time, in its sole discretion, based on adverse conditions in
 the United States mortgage market.
        (c) At the election of Seller, the Periodic Commitment Fee may be paid in cash or by adding the amount thereof ratably to the
  liquidation preference of each outstanding share of Senior Preferred Stock so that the aggregate liquidation preference of all such
  outstanding shares of Senior Preferred Stock is increased by an amount equal to the Periodic Commitment Fee. Seller shall deliver
  notice of such election not later than three (3) Business Days prior to each Periodic Fee Date. If the Periodic Commitment Fee is not
  paid in cash by 12:00 pm (New York time) on the applicable Periodic Fee Date (irrespective of Seller's election pursuant to this
  subsection), Seller shall be deemed to have elected to pay the Periodic Commitment Fee by adding the amount thereof to the
  liquidation preference of the Senior Preferred Stock, and the aggregate liquidation preference of the outstanding shares of Senior
  Preferred Stock shall thereupon be automatically increased, in the manner contemplated by the first sentence of this section, by an
  aggregate amount equal to the Periodic Commitment Fee then due.
     3.3. Increases of Senior Preferred Stock Liquidation Preference as a Result of Funding under the Commitment. The aggregate
  liquidation preference of the outstanding shares of Senior Preferred Stock shall be automatically increased by an amount equal to the
  amount of each draw on the Commitment pursuant to Article 2 that is funded by Purchaser to Seller, such increase to occur
  simultaneously with such funding and ratably with respect to each share of Senior Preferred Stock.
     3.4. Notation of Increase in Liquidation Preference. Seller shall duly mark its records to reflect each increase in the liquidation
  preference of the Senior Preferred Stock contemplated herein (but, for the avoidance of doubt, such increase shall be effective
  regardless of whether Seller has properly marked its records).

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  4. REPRESENTATIONS
        Seller represents and warrants as of the Effective Date, and shall be deemed to have represented and warranted as of the date of
  each request for and funding of an advance under the Commitment pursuant to Article 2, as follows:
     4.1. Organization and Good Standing. Seller is a corporation, chartered by the Congress of the United States, duly organized,
  validly existing and in good standing under the laws of the United States and has all corporate power and authority to carry on its
  business as now conducted and as proposed to be conducted.
     4.2. Organizational Documents. Seller has made available to Purchaser a complete and correct copy of its charter and bylaws, each
  as amended to date (the "Organizational Documents"). The Organizational Documents are in full force and effect. Seller is not in
  violation of any provision of its Organizational Documents.
     4.3. Authorization and Enforceability. All corporate or other action on the part of Seller or Conservator necessary for the
  authorization, execution, delivery and performance of this Agreement by Seller and for the authorization, issuance and delivery of the
  Senior Preferred Stock and the Warrant being purchased under this Agreement, has been taken. This Agreement has been duly and
  validly executed and delivered by Seller and (assuming due authorization, execution and delivery by the Purchaser) shall constitute the
  valid and legally binding obligation of Seller, enforceable against Seller in accordance with its terms, except to the extent the
  enforceability thereof may be limited by bankruptcy laws, insolvency laws, reorganization laws, moratorium laws or other laws of
  general applicability affecting creditors' rights generally or by general equitable principles (regardless of whether enforcement is
  sought in a proceeding in equity or at law). The Agency is acting as conservator for Seller under Section 1367 of the FHE Act. The
  Board of Directors of Seller, by valid action at a duly called meeting of the Board of Directors on September 6, 2008, consented to the
  appointment of the Agency as conservator for purposes of Section 1367(a)(3)(I) of the FHE Act, and the Director of the Agency has
  appointed the Agency as Conservator for Seller pursuant to Section 1367(a)(1) of the FHE Act, and each such action has not been
  rescinded, revoked or modified in any respect.
     4.4. Valid Issuance. When issued in accordance with the terms of this Agreement, the Senior Preferred Stock and the Warrant will
  be duly authorized, validly issued, fully paid and nonassessable, free and clear of all liens and preemptive rights. The shares of
  common stock to which the holder of the Warrant is entitled have been duly and validly reserved for issuance. When issued and
  delivered in accordance with the terms of this Agreement and the Warrant, such shares will be duly authorized, validly issued, fully
  paid and nonassessable, free and clear of all liens and preemptive rights.
     4.5. Non-Contravention.
         (a) The execution, delivery or performance by Seller of this Agreement and the consummation by Seller of the transactions
  contemplated hereby do not and will not (i) conflict with or violate any provision of the Organizational Documents of Seller;
  (ii) conflict with or violate

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 any law, decree or regulation applicable to Seller or by which any property or asset of Seller is bound or affected, or (iii) result in any
 breach of, or constitute a default (with or without notice or lapse of time, or both) under, or give to others any right of termination,
 amendment, acceleration or cancellation of, or result in the creation of a lien upon any of the properties or assets of Seller, pursuant to
 any note, bond, mortgage, indenture or credit agreement, or any other contract, agreement, lease, license, permit, franchise or other
 instrument or obligation to which Seller is a party or by which Seller is bound or affected, other than, in the case of clause (iii), any
 such breach, default, termination, amendment, acceleration, cancellation or lien that would not have and would not reasonably be
 expected to have, individually or in the aggregate, a material adverse effect on the business, property, operations or condition of the
 Seller, the authority of the Conservator or the validity or enforceability of this Agreement (a "Material Adverse Effect").
        (b) The execution and delivery of this Agreement by Seller does not, and the consummation by Seller of the transactions
 contemplated by this Agreement will not, require any consent, approval, authorization, waiver or permit of, or filing with or
 notification to, any governmental authority or any other person, except for such as have already been obtained.

 5. COVENANTS
        From the Effective Date until such time as the Senior Preferred Stock shall have been repaid or redeemed in full in accordance
 with its terms:
    5.1. Restricted Payments. Seller shall not, and shall not permit any of its subsidiaries to, in each case without the prior written
 consent of Purchaser, declare or pay any dividend (preferred or otherwise) or make any other distribution (by reduction of capital or
 otherwise), whether in cash, property, securities or a combination thereof, with respect to any of Seller's Equity Interests (other than
 with respect to the Senior Preferred Stock or the Warrant) or directly or indirectly redeem, purchase, retire or otherwise acquire for
 value any of Seller's Equity Interests (other than the Senior Preferred Stock or the Warrant), or set aside any amount for any such
 purpose.
    5.2. Issuance of Capital Stock. Seller shall not, and shall not permit any of its subsidiaries to, in each case without the prior written
 consent of Purchaser, sell or issue Equity Interests of Seller or any of its subsidiaries of any kind or nature, in any amount, other than
 the sale and issuance of the Senior Preferred Stock and Warrant on the Effective Date and the common stock subject to the Warrant
 upon exercise thereof, and other than as required by (and pursuant to) the terms of any binding agreement as in effect on the date
 hereof.
     5.3. Conservatorship. Seller shall not (and Conservator, by its signature below, agrees that it shall not), without the prior written
 consent of Purchaser, terminate, seek termination of or permit to be terminated the conservatorship of Seller pursuant to Section 1367
 of the FHE Act, other than in connection with a receivership pursuant to Section 1367 of the FHE Act.
    5.4. Transfer of Assets. Seller shall not, and shall not permit any of its subsidiaries to, in each case without the prior written consent
 of Purchaser, sell, transfer, lease or otherwise dispose of (in one transaction or a series of related transactions) all or any portion of its
 assets (including

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  Equity Interests in other persons, including subsidiaries), whether now owned or hereafter acquired (any such sale, transfer, lease or
  disposition, a "Disposition"), other than Dispositions for fair market value:
        (a) to a limited life regulated entity ("LLRE") pursuant to Section 1367(i) of the FHE Act;
        (b) of assets and properties in the ordinary course of business, consistent with past practice;
        (c) in connection with a liquidation of Seller by a receiver appointed pursuant to Section 1367(a) of the FHE Act;
        (d) of cash or cash equivalents for cash or cash equivalents; or
        (e) to the extent necessary to comply with the covenant set forth in Section 5.7 below.
      5.5. Indebtedness. Seller shall not, and shall not permit any of its subsidiaries to, in each case without the prior written consent of
  Purchaser, incur, assume or otherwise become liable for (a) any Indebtedness if, after giving effect to the incurrence thereof, the
  aggregate Indebtedness of Seller and its subsidiaries on a consolidated basis would exceed 110.0% of the aggregate Indebtedness of
  Seller and its subsidiaries on a consolidated basis as of June 30, 2008 or (b) any Indebtedness if such Indebtedness is subordinated by
  its terms to any other Indebtedness of Seller or the applicable subsidiary. For purposes of this covenant the acquisition of a subsidiary
  with Indebtedness will be deemed to be the incurrence of such Indebtedness at the time of such acquisition.
     5.6. Fundamental Changes. Seller shall not, and shall not permit any of its subsidiaries to, in each case without the prior written
  consent of Purchaser, (i) merge into or consolidate or amalgamate with any other Person, or permit any other Person to merge into or
  consolidate or amalgamate with it, (ii) effect a reorganization or recapitalization involving the common stock of Seller, a
  reclassification of the common stock of Seller or similar corporate transaction or event or (iii) purchase, lease or otherwise acquire (in
  one transaction or a series of transactions) all or substantially all of the assets of any other Person or any division, unit or business of
  any Person.
     5.7. Mortgage Assets. Seller shall not own, as of any applicable date, Mortgage Assets in excess of (i) on December 31, 2009,
  $850 billion, or (ii) on December 31 of each year thereafter, 90.0% of the aggregate amount of Mortgage Assets of Seller as of
  December 31 of the immediately preceding calendar year• provided, that in no event shall Seller be required under this Section 5.7 to
  own less than $250 billion in Mortgage Assets.
     5.8. Transactions with Affiliates. Seller shall not, and shall not permit any of its subsidiaries to, without the prior written consent of
  Purchaser, engage in any transaction of any kind or nature with an Affiliate of Seller unless such transaction is (i) pursuant to this
  Agreement, the Senior Preferred Stock or the Warrant, (ii) upon terms no less favorable to Seller than would be obtained in a
  comparable arm's-length transaction with a Person that is not an Affiliate of Seller or

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 (iii) a transaction undertaken in the ordinary course or pursuant to a contractual obligation or customary employment arrangement in
 existence as of the date hereof.
    5.9. Reporting. Seller shall provide to Purchaser:
       (a) not later than the time period specified in the SEC's rules and regulations with respect to issuers as to which Section 13 and
 15(d) of the Exchange Act apply, annual reports on Form 10-K (or any successor or comparable form) containing the information
 required to be contained therein (or required in such successor or comparable form);
       (b) not later than the time period specified in the SEC's rules and regulations with respect to issuers as to which Section 13 and
 15(d) of the Exchange Act apply, reports on Form 10-Q (or any successor or comparable form) containing the information required to
 be contained therein (or required in such successor or comparable form);
       (c) promptly from time to time after the occurrence of an event required to be therein reported (and in any event within the time
 period specified in the SEC's rules and regulations), such other reports on Form 8-K (or any successor or comparable form);
        (d) concurrently with any delivery of financial statements under paragraphs (a) or (b) above, a certificate of the Designated
 Representative, (i) certifying that Seller is (and since the last such certificate has at all times been) in compliance with each of the
 covenants contained herein and that no representation made by Seller herein or in any document delivered pursuant hereto or in
 connection herewith was false or misleading in any material respect when made, or, if the foregoing is not true, specifying the nature
 and extent of the breach of covenant and/or representation and any corrective action taken or proposed to be taken with respect thereto,
 and (ii) setting forth computations in reasonable detail and satisfactory to the Purchaser of the Deficiency Amount, if any;
       (e) promptly, from time to time, such other information regarding the operations, business affairs, plans, projections and financial
 condition of Seller, or compliance with the terms of this Agreement, as Purchaser may reasonably request; and
        (f) as promptly as reasonably practicable, written notice of the following:
          (i) the occurrence of the Liquidation End Date;
          (ii) the filing or commencement of, or any written threat or notice of intention of any Person to file or commence, any action,
       suit or proceeding, whether at law or in equity or by or before any governmental authority or in arbitration, against Conservator,
       Seller or any other Person which, if adversely determined, would reasonably be expected to have a Material Adverse Effect;
          (iii) any other development that is not a matter of general public knowledge and that has had, or would reasonably be expected
       to have, a Material Adverse Effect.

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     5.10. Executive Compensation. Seller shall not, without the consent of the Director, in consultation with the Secretary of the
  Treasury, enter into any new compensation arrangements with, or increase amounts or benefits payable under existing compensation
  arrangements of, any Named Executive Officer of Seller.

  6. MISCELLANEOUS
     6.1. No Third-Party Beneficiaries. Until the termination of the Commitment, at any time during the existence and continuance of a
  payment default with respect to debt securities issued by Seller and/or a default by Seller with respect to any Mortgage Guarantee
  Obligations, any holder of such defaulted debt securities or beneficiary of such Mortgage Guarantee Obligations (collectively, the
  "Holders") may (a) deliver notice to the Seller and the Designated Representative requesting exercise of all rights available to them
  under this Agreement to draw on the Commitment up to the lesser of the amount necessary to cure the outstanding payment defaults
  and the Available Amount as of the last day of the immediately preceding fiscal quarter, and (b) if Seller and the Designated
  Representative fail to act as requested within thirty (30) days of such notice, or if Purchaser shall fail to perform its obligations in
  respect of any draw on the Commitment and Seller and/or the Designated Representative shall not be diligently pursuing remedies in
  respect of such failure, seek judicial relief requiring Seller to draw on the Commitment or Purchaser to fund the Commitment, as
  applicable. The Holders shall have no other rights under or in respect of this Agreement, and the Commitment shall not otherwise be
  enforceable by any creditor of Seller or by any other Person other than the parties hereto, and no such creditor or other Person is
  intended to be, or shall be, a third party beneficiary of any provision of this Agreement.
     6.2. Non-Transferable; Successors. The Commitment is solely for the benefit of Seller and shall not inure to the benefit of any other
  Person (other than the Holders to the extent set forth in Section 6.1), including any entity to which the charter of Seller may be
  transferred, to any LLRE or to any other successor to the assets, liabilities or operations of Seller. The Commitment may not be
  assigned or otherwise transferred, in whole or in part, to any Person (including, for the avoidance of doubt, any LLRE to which a
  receiver has assigned all or a portion of Seller's assets) without the prior written consent of Purchaser (which may be withheld in its
  sole discretion). In no event shall any successor to Seller (including such an LLRE) be entitled to the benefit of the Commitment
  without the prior written consent of Purchaser. Seller and Conservator, for themselves and on behalf of their permitted successors,
  covenant and agree not to transfer or purport to transfer the Commitment in contravention of the terms hereof, and any such attempted
  transfer shall be null and void ab initio. It is the expectation of the parties that, in the event Seller were placed into receivership and an
  LLRE formed to purchase certain of its assets and assume certain of its liabilities, the Commitment would remain with Seller for the
  benefit of the holders of the debt of Seller not assumed by the LLRE.
     6.3. Amendments; Waivers. This Agreement may be waived or amended solely by a writing executed by both of the parties hereto,
  and, with respect to amendments to or waivers of the provisions of Sections 5.3, 6.2 and 6.11, the Conservator; provided however, that
  no such waiver or amendment shall decrease the aggregate Commitment or add conditions to funding the amounts required to be
  funded by Purchaser under the Commitment if such waiver or amendment would,




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 in the reasonable opinion of Seller, adversely affect in any material respect the holders of debt securities of Seller and/or the
 beneficiaries of Mortgage Guarantee Obligations, in each case in their capacities as such, after taking into account any alternative
 arrangements that may be implemented concurrently with such waiver or amendment. In no event shall any rights granted hereunder
 prevent the parties hereto from waiving or amending in any manner whatsoever the covenants of Seller hereunder.
    6.4. Governing Law; Jurisdiction; Venue. This Agreement and the Warrant shall be governed by, and construed in accordance with,
 the federal law of the United States of America if and to the extent such federal law is applicable, and otherwise in accordance with the
 laws of the State of New York. The Senior Preferred Stock shall be governed as set forth in the terms thereof. The United States
 District Court for the District of Columbia shall have exclusive jurisdiction over all civil actions arising out of this Agreement, the
 Commitment, the Senior Preferred Stock and the Warrant, and venue for any such civil action shall lie exclusively in the United States
 District Court for the District of Columbia.
    6.5. Notices. Any notices delivered pursuant to or in connection with this Agreement shall be delivered to the applicable parties at
 the addresses set forth below:
              If to Seller:
              Federal National Mortgage Association
              do Federal Housing Finance Authority
              1700 G Street, NW
              4th Floor
              Washington, DC 20552
              Attention: General Counsel
              If to Purchaser:
              United States Department of the Treasury
              1500 Pennsylvania Avenue, NW
              Washington DC 20220
              Attention: Under Secretary for Domestic Finance
              with a copy to:
              United States Department of the Treasury
              1500 Pennsylvania Avenue, NW
              Washington DC 20220
              Attention: General Counsel
              If to Conservator:
              Federal Housing Finance Authority
              1700 G Street, NW

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             4th Floor
             Washington, DC 20552
             Attention: General Counsel
 All notices and other communications provided for herein shall be in writing and shall be delivered by hand or overnight courier
 service, mailed by certified or registered mail. All notices hereunder shall be effective upon receipt.
    6.6. Disclaimer of Guarantee. This Agreement and the Commitment are not intended to and shall not be deemed to constitute a
 guarantee by Purchaser or any other agency or instrumentality of the United States of the payment or performance of any debt security
 or any other obligation, indebtedness or liability of Seller of any kind or character whatsoever.
     6.7. Effect of Order; Injunction; Decree. If any order, injunction or decree is issued by any court of competent jurisdiction that
 vacates, modifies, amends, conditions, enjoins, stays or otherwise affects the appointment of Conservator as conservator of Seller or
 otherwise curtails Conservator's powers as such conservator (except in each case any order converting the conservatorship to a
 receivership under Section 1367(a) of the FHE Act), Purchaser may by written notice to Conservator and Seller declare this Agreement
 null and void, whereupon all transfers hereunder (including the issuance of the Senior Preferred Stock and the Warrant and any funding
 of the Commitment) shall be rescinded and unwound and all obligations of the parties (other than to effectuate such rescission and
 unwind) shall immediately and automatically terminate.
    6.8. Business Day. To the extent that any deadline or date of performance of any right or obligation set forth herein shall fall on a
 day other than a Business Day, then such deadline or date of performance shall automatically be extended to the next succeeding
 Business Day.
    6.9. Entire Agreement. This Agreement, together with the Senior Preferred Stock and Warrant, contains the entire agreement
 between the parties hereto with respect to the transactions contemplated hereby and supersedes and cancels all prior agreements,
 including, but not limited to, all proposals, term sheets, statements, letters of intent or representations, written or oral, with respect
 thereto.
    6.10. Remedies. In the event of a breach by Seller of any covenant or representation of Seller set forth herein, Purchaser shall be
 entitled to specific performance (in the case of a breach of covenant), damages and such other remedies as may be available at law or in
 equity; provided, that Purchaser shall not have the right to terminate the Commitment solely as a result of any such breach, and
 compliance with the covenants and the accuracy of the representations set forth in this Agreement shall not be conditions to funding the
 Commitment.
    6.11. Tax Reporting. Neither Seller nor Conservator shall take, or shall permit any of their respective successors or assigns to take, a
 position for any tax, accounting or other purpose that is inconsistent with Internal Revenue Service Notice 2008-76 (or the regulations
 to be issued pursuant to such Notice) regarding the application of Section 382 of the Internal Revenue Code of 1986, as amended, a
 copy of which Notice has been provided to Seller in connection with the execution of this Agreement.

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     6.12. Non-Severability. Each of the provisions of this Agreement is integrated with and integral to the whole and shall not be
  severable from the remainder of the Agreement. In the event that any provision of this Agreement, the Senior Preferred Stock or the
  Warrant is determined to be illegal or unenforceable, then Purchaser may, in its sole discretion, by written notice to Conservator and
  Seller, declare this Agreement null and void, whereupon all transfers hereunder (including the issuance of the Senior Preferred Stock
  and the Warrant and any funding of the Commitment) shall be rescinded and unwound and all obligations of the parties (other than to
  effectuate such rescission and unwind) shall immediately and automatically terminate.


                                                         [Signature Page Follows]

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                                                                   FEDERAL NATIONAL MORTGAGE ASSOCIATION, by

                                                                   Federal Housing Finance Agency,
                                                                   its Conservator

                                                                   /s/ James B. Lockhart III
                                                                   James B. Lockhart III
                                                                   Director

                                                                   UNITED STATES DEPARTMENT OF THE TREASURY

                                                                   /s/ Henry M. Paulson, Jr.
                                                                   Henry M. Paulson, Jr.
                                                                   Secretary of the Treasury


  Acknowledged and, solely as
  To Sections 5.3, 6.2 and 6.11,
  Agreed:

  FEDERAL HOUSING
  FINANCE AGENCY,
  As Conservator

  /s/ James B. Lockhart III
  James B. Lockhart III
  Director



                                      Signature Page to Senior Preferred Stock Purchase Agreement




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